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UNITED STATES DlSTRlCT C()URT i$-:l""] cl
DISTR|CT ()F IDAHO

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David R. l-linkson, l) CAS]E NO. _F
)
Plaintit`f, ) BIVENS
_) CO`MPLAINT FOR CIVIL
`) RIGHTS DAMAGES; and,
) DEMAND F()R JURY TRA]L
v. )
)
)
Steve Hiries_, )
Gerry Morgan, )
Dennis Albers ) JURY REQUESTED
Nancy Cook, )
Intcrnal Rcvenuc Scrvicc, )
ANY AND ALL DOF..S. )
Det`endants, )
)
OPENING S'I`A'I`EMENT

'l`his is a civil rights action for declaratory relief and money damagesl "l`hc Plaintift` has
been denied his right to security ol:`his papers and e'|"i`ects from seizure except on probable
cause supported by oath and/or at`finnation; his right to not be deprived of due process of
law; his right to equal protection of the laws of this State and the United States; his right
not to be deprived of life, liberty, or property Withoutjust compensation; and his rights
reserved or retained under the Constitution of this State and the United States Constitution;

his right to bc free from cruel and unusual punishment, prosecutorial Vindictiveness,

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malicious prosecution and our rights reserved or retained under the Constitution of this
State because the defendants failed in their Constitutional and statutory duties to protect the
rights of the Plaintiff. Such acts by the defendants Were played out under the color of law.

JURISDICTION AND VENUE
1. Plaintiff invoices this Court’s jurisdiction pursuant to the 1st Amcndment of the United
States Constitution through Title 42_, USC, Section 1983, 1985, 1986, and 1988 and Unitcd
f~itates Constitution_, lst_, 4th_, 5th, 6th, 7th Sth, 9th, 13th and 14th Amendments.
2. The Plaintii"t` further invokes the jurisdiction of this Court pursuant to 'l`itle 28, Section
1331, 1343(a)(3)(4). 'l`he action is within the statute of limitations for time to allege fraud
and conspiracy to commit l`raud_, and all the damages and causes of action have occurred
within the venue and jurisdiction of this llonorable Cou.tt.

PARTIES

3. Plaintiff, T)avid R. l-linl<son, is a citizen and resident ofthc Unitcd Statcs of America
and is over the age of eighteen (_13_) years.
4. l')el`endant lnternal Revenue Agent Gcrry Morgan and Steven l-lincs, Special Agent, at
all times relevant to this complaint, were agents representing the [nternal Revenuc Scrvicc
and Were acting ministerially and administratively in their capacity as agents. Defendant,
Gerry Morgan and Steven llines are being sued in their individual and official capacity
Gcrry lvlorgan and Steven Hines are employed, enriched, compensated and rewarded for
their duties as agents. Defendant Gerry llv“.lorgan and Steven Hin.es were acting under the
color of law in their individual capacity outside of state and federal policies and were
acting individually and/or in concert With other federal and state actors. Defendant Gerry

Morgan and Steven Hines are being sued for acts, Which are outside their official discretion

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as agents for the internal Revenu.e Service.

5. Defendant Nancy Coolt is an Assistant Llnitcd States Attorney and at all times relevant
to this complaint was acting in her capacity as an Assistant United States Attorncy.
l_')etendant Cool~r is being sued in her official as well as individual capacity. Defendant
Coolt may have sworn an oath of office to uphold the Constitution of the United States and
to uphold her functions as Assistant l_.lnited States Attorney to the l_lnited States of
America. Defendant Coolt is employed, enriched, compensated and rewarded for her duties
as an Assistant United States Attorney. Dcfcndant Cook is a resident ofthe Statc of ldaho.
l')e|`endant Coolt was acting under the color of law in her official capacity and as an
individual outside of state and federal policies and was acting individually and in concert
With other state and/or federal actors. l')el"endant Cool< is being sued for acts, which arc
outside her discretion as a person, individually_, as well as within her official capacities.

6. Defendant Dennis Albers is a private attorney in the state of ldaho. Dennis Albers as an
agent of the court, has given private sealed court inlbrmation to third parties,, in
orchestrated due process violations This activity Was done after he was properly notified
of these due process violations ll-lis orchestrated activity siler proper notification makes
him an actor and participant in these concerted activities

7. Defendant internal Revcnue Service is an agency of the United States federal
governmentl At all times relevant to this complaint it either directly or indirectly trained_,
controlled_, made policy for, cmployed, supervised, compensated, enriched, or rewarded
some or all of the defendants for their actions relevant to this complaint. The INTERNAL

RF.VENUE SERVICE is being sued as a pcrson.

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8. Plaint;it`f is ignorant of the true names and capacities, whether governmental, eorporate_,
associatc, individual or otherwise, or the defendants fictitiously named as ANY AND ALL
DOES, Defendant(s) DOES are state and/or federal actors and at all times relevant to this
complaint were acting under color of law in their official capacity or as individuals outside
of state and/or federal policies and acting individually and/or in concert while being
enriched, rewarded and compensated for their acts. Plaintiff will amend this complaint to
insert the true names and capacities o'fsuch fictitioust named defendants when such has
been ascertained through discovery.

STATEMENT OF FACTS
9. lt appears that plaintiff has been stalked for several years by the lnternal Revenue
‘Service, lntemal Revenue Agent Gerry l\/iorgan and Special Agent Eiteven Hines and other
DOES. On or about February 9_. 2000 Gerry Morgan requested certain documents to he
provided to him. Without giving plaintiff time to respond, defendant, Gerry Morgan started
multiple summons actions against at least thirteen different banks and financial institutions
Plaintiff questioned defendant l-lines regarding the lack of indicia of court authority lacking
court seal and signature within the procedural requirement as stated in the Summons.
l_)cfcnda_nt_, l-lines conducted this orchestrated activity after being properly notified that
Plainti ff requested his rights be protected by the Seventh Amendment. Instead_, defendant
l-lines bypassed the Courts and proceeded on his own maliciously. This information that
Steven Hines has relied on to attack the different banking and financial institutions was
gained by Stcven l-lincs, coercing several DOES to trespass and misappropriate documents.

The information that was the subject of the summons Wa.s also missing from the office and
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was never authorized to be released Those documents were the initial leads for Stcvcn
l-lines to sutnmons all thirteen +/- banking and linancial institutions Since all of the
aggressive attacks on the banking institutions, several of them will no longer do business
with plaintiff and have “kicked him out of the bank” which has affected his relationship
and his fiduciary responsibilities Steven Hines is also charged with coercing a private
attorney to get control of private documents through another private civil action that was
already taking place in the state courts in the state of idaho. Dennis Albers proceeded to
release said material after being properly notified that the summons in question were
fraudulent and were sent without proper authority thus creating mail fraud. E`urthcrrnorc,
l')efendants released and took position o f documents that Were lawfully sealed by court
order and were not to he disclosed All the above-mentioned private documents that were
taken are the sole source of information that was passed on to the Assistant United States
Attorney Nancy Cook.

10. All times stated herein the internal Revcnuc Service and all defendants had notice and
opportunity to resolve the acts or omissions of their agents and failed to prevent the
atrocities that occurred at that time or future times after being noticed.

'l `l. Nancy Cook_, Assistant l_lnited States Attorney has orchestrated many different Grand
.lury tribunals using the stolen information to try and get an lndictrnent even after being
notified of the violations of due process. To this point she has not been successliil.
However, it is known for the record that she is attempting to formulate new charges in a
different direction with the Food and Drug Administration and other Does actors. Nancy
Cook has sent out investigators from the Food and Drug to interrogate private citizens

against plaintiffl lt is stated that when Nancy Cook linds exculpatory evidence in favor of

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plaintiff she knowingly and willingly makes sure that information does not get to the Grand
.lury. F'laintiff is concerned about the tactics used by Nancy Cook and agents regarding
Grand .lury witnesses One witness was served with an illegible document purported to be a
summons. Wben witness questioned the authenticity of the document whereupon unnamed
marshals came and seized her out of the jurisdiction to another jurisdiction and ordered her
to testify. The other witness was not served the summons but was arrested for not showing
up to the hearing Plainti ff questions whether these tactics are in furtherance of the pursuit
of j ustice.

FEI)ERAL CAUSES OF ACTION
l2. "I`he herein above described actions and omissions engaged under the color ofState
and Federal authority by the l')efendants, including the defendants employers, peers and
ALL OTIIER DOES_. sued as persons, responsible because ofits authorization, assistance,
condonation, knowledge o f the conspiracy to commit fraud, due process crimes and
ratification thereof for the acts of its employees, their peers, and Al,li OTHER DOES,
being public servants, deprived Plaintif f of his rights secured to him and expected by them
under the Constitution of the United 'Eitates in it`s entirety including but not limited to his
f`ourth Amendment right to be free from unlawful seizure of their papers and effects
Without probable cause_; his Fourth and fifth Amcndment right to be free from malicious
prosecution; and his Seventh Amendment right to due process of law and Fourteenth
Amcndment rights to due process of law; his Sixth Amendment right to know the nature
and cause of the action against him; and his Eighth Amendment right to be free from cruel
and unusual punishment, and his thirteenth amendment right to be free from involuntary

servitude.

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l.'-.l. FIRST CAUSE: Flaintist Fourth Amendment right to be free from unreasonable
seizure of his papers and effects were violated when the federal actors did coerce and
conspired to have seized private documents from plaintiffl lnstead of defendant l-lines
seeking enforcement from a court, he acted with malice and no statutory or delegated
authority.

14. SECOND CAUSE: Plaintiff"s Fourth Amendment right to be secure in his person,,
paper and effects from unreasonable or violent unprovoked attacks, as unreasonable
searches and seizures of private papers were violated by each and all defendants in all
actions at the time.

15. THIR]J CAUSE: Plaintiffs Seventh Alnendment right to have all controversies
adjudicated pursuant to his due process right to be protect via the Seventh Amendment
were violated even after Flaintiff gave proper notification to defendants

16. F()URTH CAUSE: Plaintiffs suffered emotional trauma constituting cruel and
unusual punishment in violation ofthe Eighth Arncndment by the unreasonable taking of
private documents and attacking all associates involved. The actions of each defendant by
either directly or indirectly assisting with the use of excessive force, illegal summons,
persecution without due process_, fraud, mail fraud, theft caused great harm to the
reputation of the plaintiff and are abuses of executive discretion

17. FIFTH CAUSE: Plaintiff’ s Fourth, Fifth and f"ourtecnth Amendment rights to due
process were violated by Defendants who were judiciary and/or administrative officers
commissioned and sworn by oath to assist in abating and/or stopping these crimes. These
actors physically assisted and orchestrated in these activities The Defendants harassment

activities includes not aiding the plaintiff s_; authorizing and allowing such actions thereto

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by condoning such acts as physically abducting the plaintiffs papers and effects for the
purpose of committing fraud and_conspiracy to commit fraud_, and mail fraud without a
warrant, and trying to take
possession of the plaintiffs papers with theft_, and having knowledge of such wrong doings,
conspired therefore to, and had the power to prevent such acts, for which they are liable for
all damages thereby incurredl

PRAYER F`()R RELIEF
PLAIN'l`ll"F’, wherefore demands the following relief jointly and/or severally against all
the l')efendants in their official andfor individual capacities:
A. Compensatory damages in the amount often million dollars (_$ 10,000,000.00)
B. Punitive damages in the amount of forty million dollars ($40,000,000.00) against all
defendants inclusiver and or separately
C. Attomey’s fees pursuant to "l`itle 42, U`.S.C., Secticn 1983 if needed, and all costs in
filing this complaint and filing this action and all out of pocket expenses in relation to this
action.
D. Dcclaratory judgment at the actions of defendants herein who were either under the
color of law or totally outside the law_, and in either casc, clearly violated well established
law and the principle of common rights here in the United States, by conspiring to commit
fraud against the plaintiif.
h`. Defendants, must be forced to surrender all papers and effects that were stolen from the
plaintiffs private property and that information should not bc allowed to be used against
him.

F. Plaintiff requests the court issue an injunction against defendants prohibiting them from

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continuing violations of plaintiff s civil rights.

(i. Such other and further relief as this Court deems appropriate under the circumstances,
including but not limited to criminal sanctions or recommendations of criminal prosecution
pursuant to USC Title 18_. Section 241 and 242, and/or recommendation to the justice
department to prosecute any or all defendants

l'l. Right to amend this complaint as needed.

TRIAL BY ‘l'URY IS I-fEREBY DEMANDED

C:;,,M% asu/n

avid R. l-linkson

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VERIFICATION

l, David R. Hinkson, do solemnly swear under penalty of perjury that the forgoing is true
and correct to the best of my knowledge and belief and that this filing was executed in the

State of ldaho.
,r:rszr/A

avis R. niiir<`"so`

 
 

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